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                      UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                          )
                                                    )
                       Plaintiff,                   )
                                                    )
 v.                                                 )       Case No. 08-CR-0051-006-CVE
                                                    )
 JOSE SILOS,                                        )
                                                    )
                       Defendant.                   )


                                    OPINION AND ORDER

        Now before the Court is Defendant’s Motion for Revocation of Detention Order (Dkt. ## 58,

 68). Defendant Jose Silos is charged with participating in a drug conspiracy (Count One),

 maintaining drug-involved premises (Count Three), conspiring to commit an offense against the

 United States (Count Eleven), and using a communication device to facilitate a drug trafficking

 offense (Counts Nineteen, Twenty, Twenty-Nine, and Thirty-Two). The government filed a motion

 (Dkt. # 33) asking the Court to detain defendant pending trial and a detention hearing was held

 before Magistrate Judge Paul J. Cleary on April 3, 2008. He found that defendant should be

 detained pursuant to 18 U.S.C. § 3142(e), because he was charged with an offense under the

 Controlled Substances Act, 18 U.S.C. § 801 et seq., that carried a maximum sentence of ten years

 or more. He further found that no condition or combination of conditions would ensure the safety

 of the community or defendant’s presence at court proceedings.

        Under 18 U.S.C. § 3145(b), a criminal defendant who has been detained pending trial may

 file “with the court having original jurisdiction over the offense, a motion for revocation or

 amendment of the order.” The Tenth Circuit requires this Court to conduct de novo review of a

 magistrate judge’s detention order. United States v. Cisneros, 328 F.3d 610, 616 n.1 (10th Cir.
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 2003). A district court has the discretion to hold an evidentiary hearing if it determines that

 additional evidence is necessary or it may rule on the written pleadings and evidence if the factual

 record is sufficient. United States v. King, 849 F.2d 485, 490-91 (11th Cir. 1988); United States v.

 Williams, 753 F.2d 329, 334 (4th Cir. 1985). The Court has reviewed the pleadings, as well as the

 transcript (Dkt. # 76) of and exhibits introduced at the detention hearing, and finds that an

 evidentiary hearing on defendant’s motion is not required.

        The government invoked the presumption of detention, pursuant to 18 U.S.C. § 3142(e), that

 no conditions of release will assure defendant’s appearance and the safety of the community. See

 18 U.S.C. § 3142(e) (“Subject to rebuttal by the person, it shall be presumed that no condition or

 combination of conditions will reasonably assure the appearance of the person as required and the

 safety of the community if the judicial officer finds that there is probable cause to believe that the

 person committed an offense for which a maximum term of imprisonment of ten years or more is

 prescribed in the Controlled Substances Act . . . .”). When the government invokes the presumption

 of detention, the burden shifts to the defendant to produce evidence rebutting the presumption.

 United States v. Stricklin, 932 F.2d 1353, 1354 (10th Cir. 1991). The defendant’s burden of

 production is not heavy, but some evidence must be produced. Id. at 1355. Even if the defendant

 satisfies his or her burden of production, “the presumption remains a factor for consideration by the

 district court in determining whether to release or detain.” Id. At all times, the burden of persuasion

 remains with the government. United States v. Cook, 880 F.2d 1158, 1162 (10th Cir. 1989).

        At the detention hearing, the government presented the testimony of Jared Yates (“Yates”),

 a special agent for the Bureau of Alcohol, Tobacco, and Firearms (“ATF”). Yates has been

 investigating the Bonilla drug organization for two and a half years and he testified that Jose Silos


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 (“Silos”) was an organizer and debt collector for the organization. Dkt. # 76, at 11-12. An alleged

 coconspirator and transporter for the Bonilla drug organization, Felix McVay (“McVay”), informed

 Yates that other members of the Bonilla drug organization referred to Silos as “Fats.” Id. at 44.

 Silos is married to Francisca Bonilla and he is the stepfather of Manuel and Mario Bonilla, the

 organization’s leaders. Yates testified that Silos would receive shipments of drugs at 816 North

 Rockford St., Tulsa, Oklahoma (“816 N. Rockford”). The government learned that the Bonilla drug

 organization could be using Silos’ address to receive and process shipments of narcotics or money

 and set up surveillance at the address. Id. at 21-22. ATF agent Matt Abowd (“Abowd”) was

 conducting surveillance and observed Silos working underneath a fifth-wheel trailer with welding

 equipment. Based on other information gathered by the government, Abowd believed that Silos

 could be altering the trailer to install a compartment to hide contraband.1 Plaintiff’s Ex. 4, at 3, 5.

 Yates interviewed Miguel Chavez (“Chavez”), a transporter for the Bonilla drug organization. Dkt.

 # 76, at 16. On July 9, 2006, Chavez claims that he delivered a shipment of narcotics to Silos at 816

 N. Rockford. Id. at 18. McVay also told Yates that he delivered money to 816 N. Rockford and he

 saw a gun in Silos’ bedroom on two occasions. The gun was located on a dresser near Silos while

 he counted money. Id. at 45-46; Plaintiff’s Ex. 2, at 3-4. On cross-examination, Yates testified that

 he had not observed Silos leave the Tulsa area during the investigation, but he was aware that Silos

 had relatives in Mexico.2 Robert Perjatel (“Perjatel”), a special agent for Immigration and Customs



 1
        Yates testified that a subsequent search has revealed that the trailer contained a hidden
        compartment.
 2
        Yates could not testify as to whether Silos had contact with family members in Mexico.
        However, he testified that Silos had not visited Mexico for approximately two and a half
        years. Dkt. # 76, at 75.

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 Enforcement, also testified at the detention hearing. He testified that Silos is a citizen of Mexico

 and he is lawfully in the United States as a permanent resident. Id. at 96. However, Silos could be

 deported if he is convicted of a crime.

        Defendant argued that he was not a danger to the community or a flight risk. Defense

 counsel asserted that Silos has been a legal resident of the United States for over 20 years and argued

 that the government should not be permitted to rely on Silos’ connection to another country as a

 basis for detention. Id. at 121. He acknowledged that Silos has relatives in Mexico. However, he

 claimed that Silos had not visited any family members in Mexico for at least two and a half years

 and there was no evidence that Silos would attempt to flee. Concerning Silos’ alleged use of a

 firearm, he argued that there was no evidence that the firearm was loaded or that Silos ever

 threatened anyone with it. He requested electronic monitoring, along with a combination of other

 conditions, to ensure Silos’ appearance at court proceedings. Id. at 122-23.

        The magistrate judge granted the government’s motion for detention. He acknowledged that

 defendant had come forward with some evidence, but he was not convinced that the presumption

 of detention had been rebutted. He stated:

        [I]t’s important to remember that these are presumption cases. And even in a
        situation where there’s evidence put forward to meet the burden of production -- to
        try to rebut that presumption, the presumption itself or the evidence, therefore does
        not just disappear, but it remains as a factor for the Court’s consideration of the
        ultimate determination of release or detention. With respect to Mr. Silos, we’ve got
        Agent Yates’ testimony about Silos’s extensive role in the operation of this -- this
        drug operation, these strong family relationships to the person involved. We have
        recitation of evidence from Mr. Chavez that -- again, that Silos is involved in
        arranging transportation of drugs, collecting debts, working on trailers to hide the
        drugs involved. There’s also some evidence that at least on one occasion, there was
        a weapon in Mr. Silos’s immediate vicinity while these -- while the drug money was
        being -- was being counted.




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        Under the circumstances, I think -- I’m not sure that presumption has really been
        rebutted here, but as -- the main concern, I guess, is the flight issue. We’ve got an
        extensive, very serious charge pending; we’ve got strong connections to Mexico
        through relatives, and the possibility here on this drug conspiracy of a minimum of
        ten years to life. That certainly raises the specter of flight. We’ve got the additional
        charge of maintaining drug premises against Mr. Silos. I think, under the
        circumstances -- and I know that everybody discusses the possibility of electronic
        monitoring and all sorts of things. And the fact of the matter is that the electronic
        monitoring has rather limited usefulness. It can be very useful under -- in certain
        circumstances. But in a situation like this, it’s really not all that useful as a
        mechanism to reasonably insure that someone won’t flee. And the circumstances
        here, I think, militate in favor of granting the government’s motion and detaining Mr.
        Silos.

 Dkt. # 76, at 129-30. Even if defendant had rebutted the presumption of detention, the magistrate

 judge determined that defendant posed a danger to the community and he posed a flight risk due to

 his family connections to Mexico.

        The Court has independently reviewed the pleadings and the transcript of the detention

 hearing, as well as the exhibits introduced at the detention hearing, and finds that defendant should

 be detained pending trial. At the detention hearing, the government produced evidence linking Silos

 to the alleged drug conspiracy and invoked the presumption of detention under § 3142(e).

 Defendant is charged with participating in a conspiracy to distribute cocaine, marijuana, and

 methamphetamine, and he faces a mandatory minimum sentence of ten years and a maximum

 sentence of life on Count One.3 21 U.S.C. § 841(b)(1)(A). Because the government has invoked

 the presumption of detention, defendant must produce some evidence to rebut this presumption.

 Defendant argues that the government has not presented evidence that he is a danger to the

 community or that he is a flight risk, but this is not the same as producing evidence to rebut the


 3
        The Court notes that Count Three, maintaining drug-involved premises, carries a maximum
        sentence of 20 years and would also give rise to a presumption of detention under § 3142(e).
        See 21 U.S.C. § 856(b).

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 presumption of detention. Even if the Court were to assume that defendant had rebutted the

 presumption, the Court would still find that defendant should be detained pending trial. The

 government presented evidence that Silos had access to a gun while counting the proceeds of alleged

 drug transactions. The government also presented evidence that Silos maintained a residence for

 the purpose of receiving narcotics and the proceeds of the sale of narcotics.     Both of these facts

 show that Silos could pose a danger to the safety of the community if he is released pending trial.

 Silos has strong connections to Mexico and is facing a minimum sentence of ten years, and up to a

 life sentence, for serious drug trafficking offenses. Although defendant suggests that a combination

 of conditions could ensure his presence at court proceedings, he presented no evidence suggesting

 that he has local ties or a reason to remain in Tulsa. His wife, Francisca Bonilla, is currently in

 federal custody and he did not present any evidence showing other family ties to Tulsa. However,

 the government provided evidence that Silos has family members in Mexico and is fluent in Spanish.

 This evidence suggests that defendant is a serious flight risk and militates against pretrial release.

 Given the strong flight risk, electronic monitoring would not be sufficient to ensure defendant’s

 presence at court proceedings. The government has invoked the presumption and shown that no

 condition or combination of conditions would ensure defendant’s appearance and the safety of the

 community. Pursuant to § 3142(e), the Court finds that defendant should be detained pending trial.

        IT IS THEREFORE ORDERED that Defendant’s Motion for Revocation of Detention

 Order (Dkt.# # 58, 68) is denied.

        DATED this 14th day of May, 2008.




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